                       Case 1-18-44212-cec                          Doc 13         Filed 08/02/18                Entered 08/02/18 14:43:35                                                  I




                                                                                                                                                                                            \'I
        ?
  Fill in this information to identify your case and this filing:                                                                                                                           I
  Debtor 1                 Athena Victoria Urena-Gonzalez                                                                                                        I
                           First Name                       Middle Name                      Last Name                                     Us BAN rLE:rm.
  Debtor 2                                                                                                                                   EA sTE~Wgflfk}c~ouar
 (Spouse, if filing)       First Name                       Middle Name                      Last Name                                                NEW Yoa;K            OF
 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK
                                                                                                                                           018 AUG - 2 A //:
                                                                                                                                                              SB
 Case number           18-44212
                       ----------------------                                                                                               RECEJ v!oG.Q~~ ifthi~ is an
                                                                                                                                                 .    .         "1rfithtled filing



Official Form 106A/B
Schedule A/8: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only .once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying ~orrect
                                                                                                                                                      1
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question•

            .Describe Each Residence, Building, Land, pr Other Real Estate You Own or Ha;;e an .Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   •   No. Go to Part 2.
   D Yes.      Where is the property?




Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a .vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport ·utility vehicles, motorcycles

   • No
   DYes


4. Watercraft, aircraft, motor homes, A TVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  .• No
   DYes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here .............................................................................=>                             $0.00



                                                                                                                                                        --- Current value of the
                                                                                                                                                       __.. portion ~OU own?
                           ·-   -.c
                                ~-                                                    --                                                              -~ " Do not deduct secured
                                                                                                                                                     · _claims od'.exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   DNo
    • Yes. Describe .....

                                        Dining Table, 4 chairs, (1) 3 piece sectional sofa, (2) Bookshelves,
                                        (1) queen size bed, (1) twin size bunk bed, (2) Dressers, (1)
                                        Wardrobe                                                                                                                          $1,000.00




Official Form 106A/B                                                      Schedule A/B: Property                                                                                page 1
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                      Case 1-18-44212-cec                           Doc 13    Filed 08/02/18       Entered 08/02/18 14:43:35
                                                                                                                                                                     I

  Debtor 1                                                                                             Case number (if known)     18-44212,
                                                                                                                                                                     I,
                  Athena Victoria ·Urena-Gonzalez
                                                                                                                                ----~1------
7. Electronics                                              .
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
     DNo
     • Yes. Describe .....

                                   IiMac Computer, Printer/Scanner, (1) 42" TV                                                                      $1,100.00


8. ·collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball i;:ard collections;
                other collections, memorabilia, collectibles
    • No
    D Yes.      Describe .....

9. Equipment for sports and hobbies                                                                                                  ,
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     •No
     D Yes.     Describe .....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
    D Yes.      Describe .....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    DNo
    • Yes. Describe .....

                                   IUsed Clothing                                                                                                     $500.00


12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    •No
    D Yes.      Describe .....

13. Non-farm animals
        Examples: Dogs, cats, birds, horses
    DNo
    •     Yes. Describe .....

                                   IDog, Minature Australian Shepard                                                                                     $5.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    • No
    D Yes.      Give specific information .....


                                                                                                                                              '
 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                        I $2,so5.oo



 Do·you own or have any-legal or equit_able interest in any of the following?·                                                        Current 'iialue of the
                                                                                                                                  . portion you own?
                                                                                                                                   . .Do not deduct secured
                                                                                                                                      claims or;exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    D No              ~


Official Form 106A/B                                                  Schedule A/B: Property                                                             page 2
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                                                                                                                                                    I
 Debt"or 1           Athena Victoria Urena-Gonzalez                                                                                      Case number (if known)   18-44212 ,
                                                                                                                                                                  -----------
     •    Yes .................................................................................................................

                                                                                                                                            Cash                                         $10.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
    ONo
    •Yes ...................... ..                                    Institution name:

                                                             Checking Account
                                                 17.1.       Ending: 9528                            BBVA Compass OBA Simple Bank                                                        $64.00


18. Bonds, mutual funds, or publicly traded stocks
         Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ONo
                                                           Institution or issuer name:
    aves ................ ..
                                                           Etrade Individual Brokerage Account Ending: 2579                                                                             $63.58


                                                           Apex Clearing Corp/ Stash Account ending: 8317                                                                              $278.71


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
·   joint venture
    D No
    • Yes. Give specific information about them ................. ..
                                 Name of entity:                                                                                         % of ownership:

                                                    Athena Victoria Events LLC                                                               100%          %                              $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing o_r delivering them .
    •     No
    D Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-_sharing plans
    ONo
    •     Yes. List each account separately.
                                  Type of account:                                                   Institution name:

                                                                                                     Etrade Traditional IRA Account Ending: 6822                                        $94.15


                                                                                                     Apex Clearing Corporation/ Stash Roth IRA
                                                                                                     Account Ending: 3213                                                              $268.50
                                                                                                                                                                               ! .

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others ,

    ·~                                                                                                                                                                         I
  · DYes ..................... .                                                                     Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    •     No
    DYes ............ .                 Issuer name and description.


Official Form 106NB                                                                          Schedule NB: Property                                                                        page 3
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                            Case 1-18-44212-cec                            Doc 13          Filed 08/02/18         Entered 08/02/18 14:43:35


 Deblor 1             Athena Victoria Urena-Gonzalez                                                                        Case number (if known)                       18-44212
                                                                                                                                                                        -----------
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).                              .                   .
    • No
    DYes ............ .         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1 ), and rights or powers exercisable for your benefit
    • No
    D Yes. Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    • No
    D Yes. Give specific information about them ...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    •     No
    D Yes. Give specific information about them ...
  - ----------~--------                      ----- -- .• - - - - -                    -                                                                                --------      I'
 Money or property owe~ to ypu? -· _                                                                                                                                    -- ; Ctirrentwalue of the·
                                                                                                                . _-•,                             --    ""--~ ... -
                                                                                                                                                                            - portion iyou own?
        : --:=_---.,. - -                                                                                                                               --~                   Do" not deduct secured
                                                            __ -::....::   _:.   -----.-                    - • -- - ~ _-   - _.,... -   c-,-                                 -claims or exempti9ns.

28. Tax refunds owed to you
    DNo
    • Yes. Give specific information about them, including whether you already filed the returns and the tax years ...... .



                                                       NYS Tax Refund from 2017, return was
                                                          filed.                                                                           State                                               $4,133.00


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, ·property settlement
    •     No
    D Yes. Give specific information ..... .


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else                                                                        I    .
    •No
    D Yes. Give specific information ..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    •No
    D Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                             Beneficiary:                                                         Surrender or refund
                                                                                                                                                                              value: ,

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.                                                                                                                           '
    • No
    D Yes. Give specific information ..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    •     No
    D Yes. Describe each claim ....... ..



Official Form 106AfB                                                             Schedule NB: Property                                                                                               page4
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    Debfor 1         Athena Victoria Urena-Gonzalez                                                                                  Case number (if known)         18-44212
                                                                                                                                                                   _:_=---..;:....:..=:....:..:::.___ _ _--,-_ _



34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   • No                            .                  .                                                   .                    .

       D Yes.       Describe each claim ........ .

35. Any financial assets you did not already list
       •    No
       D Yes.       Give specific information ..


    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached·
        for Part 4. Write that number here .....................................................................................................................                        $4,911.94             1·




37. Do you own or have any legal or equitable interest in any business-related property?
      • No. Go to Part 6.
      D Yes.     Go to line 38.



               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           • No. Go to Part 7.
           D Yes.   Go to line 47.


                     Describe All Property You _Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       •    No
       D Yes. Give specific information ........ .

    54. Add the dollar value of all of your entries from Part 7. Write that number here                                                                                                        $0.00

-                   List the Totals of Each Part of this Form

    55. Part 1: Total real estate, line 2                                                                                                                                                          $0.00
    56. Part 2: Total vehicles, line 5                                                                            $0.00
    57. Part 3: Total personal and household items, line 15                                                   $2,605.00
    58. Part 4: Total financial assets, line 36                                                               $4,911.94
    59. Part 5: Total business-related property, line 45                                                          $0.00
    60., Part 6: Total farm- and fishing-related property, line 52                                                $0.00
    61. Part 7: Total other property not listed, line 54                                        +                 $0.00
    62. Total personal.property. Add lines 56 through 61 ...                                                  $7,516.94            Copy personal property total                              $7,516.94

    63. Total of all property on Schedule A/8. Add line 55 + line 62                                                                                                                    $7,516.94
                                                                                                                                                                                                             I .




Official Form 106A/B                                                              Schedule NB: Property                                                                                              page 5
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                              Case 1-18-44212-cec                           Doc 13                      Filed 08/02/18                                                 Entered 08/02/18 14:43:35


  Fill i~ this information to identify your case:

  Debtor 1.                        Athena Victoria Urena-Gonzalez
                                   First Name                          Middle Name                                               Last Name
                                                                                                                                                                                                                                    CLERK
                                                                                                                                                                                                                  U.S. BANHRUPTCY COURT
  Debtor 2                                                                                                                                                                                                         EASTERN DISTRICT OF
 (Spouse if, filing)               First Name                          Middle Name                                               Last Name                                                                                         NEW YORK
  United States Bankruptcy Court for the:                    EASTERN DISTRICT OF NEW YORK
                                                                                                                                                                                                                  .2018 AUG -* 2 A 11: 59
                                                                                                                                                                                                                                          '
  Case nurriber               18-44212
 (ff known)               --------------
                                                                                                                                                                                                                      .-~C& ~¥,~Qt.:tm
                                                                                                                                                                                                                        amendeiJ filing ·
                                                                                                                                                                                                                                          I




Official Form 106C
Schedule C:· The Property You Claim as Exempt                                                                                                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule AJB: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If mbre space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, writ~ your name and
case number (if known).                                                                                                                   I·
 For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing s~'is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exe~pt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.                                                                                            1



i@IM Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      • You are claiming state and federal nonbankruptcy exemptions.                                             11 U.S.C. § 522(b)(3)

      D    You are claiming federal exemptions.· 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.
     , Brief-description of.the property and- line on· .                 Current.value of the ---- ~mounf oftlie exemptfon\•ou -claim-. - -- ~:Specific laws.that allow exemption-·
                                                                        ·po~iOl'l.y"o~·own· :, . ·.                              · .. ."                  . .          ,.-, ·    ·         ·            . ·· ~.   ·     ...,.,·.
     · Schedule AIB that !ists .this property     · ...
                                                                               ",    ,   .- ._. . .   .. .   .   '   :       '     ~     '   .   '   '   .'   . ·. .     .            .    .   "   .·                    ,. ''          ..·
                                                                         Copy the value from: .· ·. ' Check onlyone box foi each exemption, ·. .',_ .
     _: -~ -~----- _·__   -   --                :::. __ ,.· ----   .     §chedule)WL          ·        · ·      ..    ·     ·      ·       . ' ~ ___ _

      Dining Table, 4 chairs, (1) 3 piece                                           $1,000.00                            •.                                                     $1,000.00                  NYCPLR § 5205(a)(5)
      sectional_ sofa, (2) Bookshelves, (1).
      queen size bed, (1) twin size bunk                                                                                 D             100% of fair market value, up to
      bed, (2) Dressers, (1) Wardrobe                                                                                                  any applicable statutory limit
      Line from Schedule AIB: 6.1

      iMac Computer, Printer/Scanner, (1)                                           $1,100.00                            •                                                      $1,100.00                  NYCPLR § 5205(a)(5)
    · 42"TV                                                                                                                                                                                                                          '
      Line from Schedule A/8: 7.1                                                                                        D             100% of fair market value, up to
                                                                                                                                       any applicable statutory limit

     Used Clothing                                                                       $500.00                         •                                                           $500.00               NYCPLR § 5205(a)(5)
     Line from Schedule AJB: 11.1
                                                                                                                         D             100% of fair market value, up to
                                                                                                                                       any applicable statutory limit
                                                                                                                                                                                                                                    I
     Dog, Minature Australian Shepard
     Line from Schedule AJB: 13.1
                                                                                              $5.00
                                                                                                                     •
                                                                                                                     D                 100% of fair market value, up to
                                                                                                                                                                                          $5.00            NYCPLR § 5205(a)(4)


                                                                                                                                       any applicable statutory limit                                                               I

                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                    I
     Cash
     Line from Schedule AJB: 16.1
                                                                                         $10.00
                                                                                                                     •
                                                                                                                     D             100% of fair market value, up to
                                                                                                                                                                                      $10.00               NYCPLR § 5205(a)(9)
                                                                                                                                                                                                                                    ,,

                                                                                                                                   any applicable statutory limit



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                                                                                         I       page 1 of2
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                                                                                                                                                                                                                                    1                .
                      Case 1-18-44212-cec                           Doc 13        Filed 08/02/18             Entered 08/02/18 14:43:35


 DE;btor 1    Athena Victoria Urena-Gonzalez                                                               Case number (if known)      18-44212
      Brief description of the property and line.on_           current value of the.   Amount of   ttie exemption you claim..        Specific. laws that allow
                                                                                                                                                           I
                                                                                                                                                               exemption -
      Schedule A/8 that lists this property                    portion you own                                                                           ",,
                                                               Copy the value from     G_h_eck only one box for _each exemption.
                                                               Schedule_ !VB                                                                             I
                                                                                                                                                         i
      Checking Account Ending: 9528:
      BBVA Compass DBA Simple Bank
      Line from Schedule AIB: 17 .1
                                                                          $64.00
                                                                                       •
                                                                                       D
                                                                                                                        $64.00

                                                                                            100% of fair market value, up to
                                                                                                                                     NYCPLR § 5205(a)(9)


                                                                                            any applicable statutory limit


      Etrade Individual Brokerage Account
      Ending: 2579
      Line from Schedule AIB: 18.1
                                                                          $63.58
                                                                                       •
                                                                                       D
                                                                                                                        $63.58

                                                                                            100% of fair market value, up to
                                                                                                                                     Debtor & Creditor Law §
                                                                                                                                     283(1)

                                                                                            any applicable statutory limit


     Apex Clearing C9rp/ Stash Account
     ending: 8317
     Line from Schedule AIB: 18.2
                                                                         $278.71
                                                                                       •
                                                                                       D
                                                                                                                      $278.71

                                                                                            100% of fair market value, up to
                                                                                                                                     Debtor & Creditor Law §
                                                                                                                                     283(1)

                                                                                            any applicable statutory limit


      Athena Victoria Events LLC
      100%
      Line from Schedule AIB: 19.1
                                                                               $0.00
                                                                                       •
                                                                                       D
                                                                                                                         $0.00

                                                                                            100% of fair market value, up to
                                                                                                                                     Debtor & Creditor Law §
                                                                                                                                     283(1)

                                                                                            any applicable statutory limit


     Etrade Traditional IRA Account
     Ending: 6822
     Line from Schedule AIB: 21.1
                                                                          $94.15
                                                                                       •
                                                                                       D
                                                                                                                        $94.15

                                                                                            100% of fair market value, up to
                                                                                                                                     NYCPLR § 5205(e)


                                                                                            any applicable statutory limit


     Apex Clearing Corporation/ Stash
     Roth IRA Account Ending: 3213
     Line from Schedule A/B: 21.2
                                                                         $268.50
                                                                                       •
                                                                                       D
                                                                                                                      $268.50

                                                                                            100% of fair market value, up       to
                                                                                                                                     Debtor & Creditor Law §
                                                                                                                                     283(1)          I .

                                                                                            any applicable statutory limit


     State: NYS Tax Refund from 2017,
     return was filed.
     Line from Schedule A/8: 28.1
                                                                      $4,133.00
                                                                                       •
                                                                                       D
                                                                                                                   $4,133.00

                                                                                            100% of fair market value, up to
                                                                                                                                     Debtor & Creditor Law §
                                                                                                                                     283(1)

                                                                                            any applicable statutory limit ·


 3. Are you claiming a homestead.exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
     •       No
      D      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             0     No
             D     Yes




Official Form 106C ·                                   Schedule C: The Property You Claim as Exempt                                                                  page 2 of 2
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